             Case 3:12-cr-05129-RJB        Document 173       Filed 08/27/15     Page 1 of 2




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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR12-5129 RJB

10           v.                                          DETENTION ORDER

11 VAL J. WILLIAMS,

12                                Defendant.

13           The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17           On June 23, 2015, the court conducted a detention hearing. The Court released defendant

18 on an appearance bond, and Court ordered him to appear on July 1, 2015, for a status hearing.

19 Defendant failed to appear, without explanation, and a warrant for his arrest was therefore

20 issued.

21           It is therefore ORDERED:

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     DETENTION ORDER - 1
           Case 3:12-cr-05129-RJB          Document 173        Filed 08/27/15      Page 2 of 2




 1          (1)    Defendant shall be detained pending trial and committed to the custody of the

 2 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 3 from persons awaiting or serving sentences, or being held in custody pending appeal;

 4          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 5 counsel;

 6          (3)    On order of a court of the United States or on request of an attorney for the

 7 Government, the person in charge of the correctional facility in which Defendant is confined

 8 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 9 connection with a court proceeding; and

10          (4)    The Clerk shall provide copies of this order to all counsel, the United States

11 Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 27th day of August, 2015.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
